    Case: 2:22-mj-00380-EPD Doc #: 3 Filed: 07/25/22 Page: 1 of 1 PAGEID #: 21




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


                                                   |
 IN THE MATTER OF:                                 |      CASE NO. 2:22-mj-0380
                                                   |
 SEARCH AND SEIZURE WARRANTS,                      |      MAGISTRATE JUDGE DEAVERS
 APPLICATIONS, PEN REGISTERS, AND                  |
 NON-DISCLOSURE ORDERS IN THE                      |
 CAPTIONED CASE                                    |
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                       MOTION TO UNSEAL SEARCH WARRANT

       Now comes the United States of America, by Kenneth L. Parker, United States Attorney,

and Noah R. Litton, Assistant United States Attorney, for the Southern District of Ohio, Eastern

Division, and respectfully requests that the search warrant, the case, and any accompanying filings

in the above-related matter be unsealed.



                                                       Respectfully submitted,

                                                       KENNETH L. PARKER
                                                       United States Attorney

                                                       s/Noah R. Litton
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